              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 1 of 17




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

 ELISA RIVERA, ADMINISTRATRIX OF                     :
 THE ESTATE OF SAMANTHA                              :
 FIGUEROA                                            :
                                                     :
                   Plaintiff,                        :    CASE #:3:23-cv-01353-SVN
                                                     :
 v.                                                  :
                                                     :
 CONVOY, INC., PROCTER & GAMBLE                      :    OCTOBER 23, 2023
 DISTRIBUTING LLC, PREMIER                           :
 TRAILER LEASING, INC.,                              :
 PROWHEELER LLC, TRANS TERRA                         :
 EXPRESS LLC AND URIEL ESTRADA                       :
                                                     :
                   Defendants.                       :


                   PROCTER & GAMBLE DISTRIBUTING LLC’S ANSWER
                            AND AFFIRMATIVE DEFENSES

         The undersigned Defendant Procter & Gamble Distributing, LLC (“P&G” or

“Defendant”), by and through counsel, hereby submits its Answer to the plaintiff, Elisa Rivera,

Administratrix of the Estate of Samantha Figueroa’s (“Plaintiff”) Complaint dated September 19,

2023.

                                                Parties

         1.       P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “1” and leaves Plaintiff to her proof.

         2.       P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “2” and leaves Plaintiff to her proof.

         3.       P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “3” and leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 2 of 17




         4.       P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “4” and leaves Plaintiff to her proof.

         5.       P&G has insufficient information to admit or deny the allegations in Paragraph “5”

and therefore leaves Plaintiff to her proof.

         6.       P&G has insufficient information to admit or deny the allegations in Paragraph “6”

and therefore leaves Plaintiff to her proof.

         7.       P&G has insufficient information to admit or deny the allegations in Paragraph “7”

and therefore leaves Plaintiff to her proof.

         8.       P&G has insufficient information to admit or deny the allegations in Paragraph “8”

and therefore leaves Plaintiff to her proof.

         9.       P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “9” and leaves Plaintiff to her proof.

         10.      P&G has insufficient information to admit or deny the allegations in Paragraph

“10” and therefore leaves Plaintiff to her proof.

         11.      P&G has insufficient information to admit or deny the allegations in Paragraph

“11” and therefore leaves Plaintiff to her proof.

         12.      Admitted.

         13.      P&G has insufficient information to admit or deny the allegations in Paragraph

“13” and therefore leaves Plaintiff to her proof.

         14.       P&G has insufficient information to admit or deny the allegations in Paragraph

“14”.

         15.       P&G has insufficient information to admit or deny the allegations in Paragraph

“15”.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 3 of 17




         16.      . P&G has insufficient information to admit or deny the allegations in Paragraph

“16”.

         17.       P&G has insufficient information to admit or deny the allegations in Paragraph

“17”.

         18.       P&G has insufficient information to admit or deny the allegations in Paragraph

“18”.

         19.       P&G has insufficient information to admit or deny the allegations in Paragraph

“19”.

         20.       P&G has insufficient information to admit or deny the allegations in Paragraph

“20”.

         21.       P&G has insufficient information to admit or deny the allegations in Paragraph

“21”.

         22.       P&G has insufficient information to admit or deny the allegations in Paragraph

“22”.

         23.       P&G has insufficient information to admit or deny the allegations in Paragraph

“23”.

         24.       P&G has insufficient information to admit or deny the allegations in Paragraph

“24”.

         25.       P&G has insufficient information to admit or deny the allegations in Paragraph

“25”.

         26.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “26” and leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 4 of 17




         27.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “27” and leaves Plaintiff to her proof.

         28.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “28” and leaves Plaintiff to her proof.

         29.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “29” and leaves Plaintiff to her proof.

         30.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “30” and leaves Plaintiff to her proof.

         31.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “31” and leaves Plaintiff to her proof.

         32.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “32” and leaves Plaintiff to her proof.

         33.      P&G denies that it is a “joint tortfeasor.”

         34.      Denied.

                                           Factual Overview

         35.      P&G has insufficient information to admit or deny the allegations in Paragraph

“35” and therefore leaves Plaintiff to her proof.

                                  Defendant Estrada’s Driving Record

         36.      P&G has insufficient information to admit or deny the allegations in Paragraph

“36” and therefore leaves Plaintiff to her proof.

         37.      P&G has insufficient information to admit or deny the allegations in Paragraph

“37” and therefore leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 5 of 17




         38.      P&G has insufficient information to admit or deny the allegations in Paragraph

“38” and therefore leaves Plaintiff to her proof.

         39.      P&G has insufficient information to admit or deny the allegations in Paragraph

“39” and therefore leaves Plaintiff to her proof.

         40.      P&G has insufficient information to admit or deny the allegations in Paragraph

“40” and therefore leaves Plaintiff to her proof.

         41.      P&G has insufficient information to admit or deny the allegations in Paragraph

“41” and therefore leaves Plaintiff to her proof.

         42.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “42” and leaves Plaintiff to her proof.

         43.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “43” and leaves Plaintiff to her proof.

         44.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “44” and leaves Plaintiff to her proof.

         45.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “45” and leaves Plaintiff to her proof.

         46.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “46” and leaves Plaintiff to her proof.

         47.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “47” and leaves Plaintiff to her proof.

         48.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “48” and leaves Plaintiff to her proof.

                               Decisions Leading up to the Fatal Crash




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 6 of 17




          49.     P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “49” and leaves Plaintiff to her proof.

          50.     P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “50” and leaves Plaintiff to her proof.

          51.     P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “51” and leaves Plaintiff to her proof.

          52.     P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “52” and leaves Plaintiff to her proof.

          53.     P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “53” and leaves Plaintiff to her proof.

          54.     So much of Paragraph “54” which alleges, “Defendant Convoy, Inc. at all relevant

times had . . . ‘motor carrier’ . . . authority” is denied. As to the remaining allegations set forth in

Paragraph “54”, P&G has insufficient information to admit or deny the allegations and leaves the

Plaintiff to her proof.

          55.     P&G has insufficient information to admit or deny the allegations in Paragraph

“55” and therefore leaves Plaintiff to her proof.

          56.     Denied as phrased. Any agreement between Convoy, Inc. and P&G speaks for

itself.

          57.     Denied.

          58.     Denied as phrased. Any agreement between Convoy, Inc. and P&G speaks for

itself.

          59.     P&G has insufficient information to admit or deny the allegations in Paragraph

“59” and therefore leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 7 of 17




         60.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “60” and leaves Plaintiff to her proof.

         61.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “61” and leaves Plaintiff to her proof.

         62.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “62” and leaves Plaintiff to her proof.

         63.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “63” and leaves Plaintiff to her proof.

         64.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “64” and leaves Plaintiff to her proof.

         65.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “65” and leaves Plaintiff to her proof.

         66.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “66” and leaves Plaintiff to her proof.

         67.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “67” and leaves Plaintiff to her proof.

         68.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “68” and leaves Plaintiff to her proof.

         69.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “69” and leaves Plaintiff to her proof.

         70.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “70” and leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 8 of 17




         71.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “71” and leaves Plaintiff to her proof.

         72.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “72” and leaves Plaintiff to her proof.

         73.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “73” and leaves Plaintiff to her proof.

         74.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “74” and leaves Plaintiff to her proof.

         75.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “75” and leaves Plaintiff to her proof.

         76.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “76” and leaves Plaintiff to her proof.

         77.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “77” and leaves Plaintiff to her proof.

         78.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “78” and leaves Plaintiff to her proof.

         79.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “79” and leaves Plaintiff to her proof.

         80.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “80” and leaves Plaintiff to her proof.

         81.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “81” and leaves Plaintiff to her proof.




131027994.1
              Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 9 of 17




         82.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “82” and leaves Plaintiff to her proof.

         83.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “83” and leaves Plaintiff to her proof.

         84.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “84” and leaves Plaintiff to her proof.

         85.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “85” and leaves Plaintiff to her proof.

         86.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “86” and leaves Plaintiff to her proof.

         87.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “87” and leaves Plaintiff to her proof.

         88.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “88” and leaves Plaintiff to her proof.

         89.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “89” and leaves Plaintiff to her proof

         90.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “90” and leaves Plaintiff to her proof.

         91.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “91” and leaves Plaintiff to her proof.

         92.      P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “92” and leaves Plaintiff to her proof.




131027994.1
           Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 10 of 17




           93.    P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “93” and leaves Plaintiff to her proof.

           94.    P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “94” and leaves Plaintiff to her proof.

           95.    P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “95” and leaves Plaintiff to her proof.

                                          ALLEGATIONS

                                     COUNTS I THROUGH IV

           Counts I through IV are not directed towards P&G, and therefore, P&G cannot, and shall

not provide a response.

          COUNT V (ESTATE’S CLAIM OF NEGLIGENT HIRING, SELECTION AND
                             RETENTION AS TO P&G)

           1.– 33. P&G restates, realleges, and reasserts its answers set forth in Paragraphs “1”

through “33” of the “Parties Section”.

           34.–94. P&G restates, realleges, and reasserts its answers set forth in Paragraphs “34”

through “94” of the “Factual Overview Section”.

           95.    P&G is without sufficient information to admit or deny the allegations set forth in

Paragraph “95” and leaves Plaintiff to her proof.

           96.    Denied.

           97.    Denied as phrased. The agreement between Convoy, Inc. and P&G speaks for

itself.

           98.    Denied.

           99.    Denied.

           100.   Denied.



131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 11 of 17




         101.   Denied.

         102.   Denied .

         103.   Denied.

         104.   Denied.

         105.   So much of Paragraph “105” which alleges, “As a result and proximate cause” is

denied. As to the remaining allegations set forth in Paragraph “105”, P&G has insufficient

information to admit or deny the allegations and leaves the Plaintiff to her proof.

         106.   So much of Paragraph “106” which alleges, “As a further result” is denied. As to

the remaining allegations set forth in Paragraph “106”, P&G has insufficient information to admit

or deny the allegations and leaves the Plaintiff to her proof.

         107.   So much of Paragraph “107” which alleges, “As a further result” is denied. As to

the remaining allegations set forth in Paragraph “107”, P&G has insufficient information to admit

or deny the allegations and leaves the Plaintiff to her proof.

         108.   So much of Paragraph “108” which alleges, “As a further result” is denied. As to

the remaining allegations set forth in Paragraph “108”, P&G has insufficient information to admit

or deny the allegations and leaves the Plaintiff to her proof.

         109.   Denied.

    COUNT VI: (ESTATE’S CLAIM OF VICARIOUS LIABILITY FOR DEFENDANT
    CONVOY, INC.’S NEGLIGENCE AS TO DEFENDANT PROCTER & GAMBLE,
                        PURSUANT TO C.G.S. § 52-183)

         1.– 33. P&G restates, realleges, and reasserts its answers set forth in Paragraphs “1”

through “33” of the “Parties Section”.

         34.–94. P&G restates, realleges, and reasserts its answers set forth in Paragraphs “34”

through “94” of the “Factual Overview Section”.




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 12 of 17




         95.    This paragraph does not apply to P&G and is therefore denied.

         96.    Denied. This paragraph does not apply to P&G and is therefore denied.

         97.    Denied. This paragraph does not apply to P&G and is therefore denied.

         98.    Denied. This paragraph does not apply to P&G and is therefore denied.

         99.    Denied. This paragraph does not apply to P&G and is therefore denied.

         100.   Denied. This paragraph does not apply to P&G and is therefore denied.

         101.   Denied. This paragraph does not apply to P&G and is therefore denied.

         102.   Denied. This paragraph does not apply to P&G and is therefore denied.

         103.   Denied. This paragraph does not apply to P&G and is therefore denied.

         104.   Denied. This paragraph does not apply to P&G and is therefore denied.

         105.   Denied. This paragraph does not apply to P&G and is therefore denied.

         106.   Denied. This paragraph does not apply to P&G and is therefore denied.

         107.   Denied. This paragraph does not apply to P&G and is therefore denied.

         108.   Denied. This paragraph does not apply to P&G and is therefore denied.

         109.   Denied. This paragraph does not apply to P&G and is therefore denied.

         110.   Denied. This paragraph does not apply to P&G and is therefore denied.

         111.   Denied. This paragraph does not apply to P&G and is therefore denied.

         112.   So much of Paragraph “112” which alleges, “As a result and proximate cause” is

denied. As to the remaining allegations set forth in Paragraph “112”, P&G has insufficient

information to admit or deny the allegations and leaves the Plaintiff to her proof.

         113.   So much of Paragraph “113” which alleges, “As a further result” is denied. As to

the remaining allegations set forth in Paragraph “113”, P&G has insufficient information to admit

or deny the allegations and leaves the Plaintiff to her proof.




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 13 of 17




         114.   So much of Paragraph “114” which alleges, “As a further result” is denied. As to

the remaining allegations set forth in Paragraph “114”, P&G has insufficient information to admit

or deny the allegations and leaves the Plaintiff to her proof.

         115.   This paragraph does not apply to P&G and is therefore denied.

         115.   [sic] Denied. See above response to paragraph 115.

         116.   Denied. This paragraph does not apply to P&G and is therefore denied.

         117.   Denied. This paragraph does not apply to P&G and is therefore denied.

         118.   Denied as to the statement directed at P&G.

                             COUNT VII THROUGH COUNT XIV

         Count VII through Count XIV are not directed at P&G, and therefore, P&G cannot, and

shall not provide a response to Count VII through Count XIV.

         WHEREFORE, P&G denies that the Plaintiff is entitled to the relied requested.

                                  AFFIRMATIVE DEFENSES

         The undersigned Defendant Procter & Gamble Distributing, LLC (“P&G”) asserts the

following defenses and reserves its right to assert additional defenses when, and if, they become

appropriate.

                               FIRST AFFIRMATIVE DEFENSE

         Any injury or damages sustained by Plaintiff, as alleged in the Complaint, were caused in

whole or in part by the contributory or comparative negligence and/or culpable conduct of said

Plaintiff’s decedent and not as a result of any negligence and/or culpable conduct on the part of

P&G, which negligence is specifically denied, in that she:

         a) failed to make proper use of her senses and faculties for her own safety;

         b) failed to exercise reasonable care for her own safety;




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 14 of 17




         c) failed to keep a proper lookout;

         d) remained on and/or near the subject roadway and/or highway in an area that was unsafe.

                             SECOND AFFIRMATIVE DEFENSE

         The Plaintiff fails to state a cause of action upon which relief may be granted, cognizable

in equity or law, against P&G, and must therefore be dismissed.

                               THIRD AFFIRMATIVE DEFENSE

         If the Plaintiff sustained any damages as alleged in the Complaint, which allegations are

expressly denied, then same were sustained because of the negligence and/or culpable conduct of

one or more third parties over whom P&G did not and was not obligated to exercise supervision

or control.

                             FOURTH AFFIRMATIVE DEFENSE

         The damages claimed by Plaintiff, which are expressly denied, were not proximately

caused by P&G.

                               FIFTH AFFIRMATIVE DEFENSE

         The Complaint should be dismissed for failure to join a necessary party.

                               SIXTH AFFIRMATIVE DEFENSE

         The Complaint should be dismissed based on the applicable Statute of Limitations.

                             SEVENTH AFFIRMATIVE DEFENSE

         The Complaint should be dismissed as the Court lacks personal jurisdiction over P&G.

                              EIGHTH AFFIRMATIVE DEFENSE

         The Complaint should be dismissed as the Court lacks subject matter jurisdiction over

P&G.




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 15 of 17




                               NINTH AFFIRMATIVE DEFENSE

         Upon information and belief the injuries or damages alleged by Plaintiff, all of which are

expressly denied, were caused by the intervening, interceding and superseding acts of third parties

not under the control of P&G.

                               TENTH AFFIRMATIVE DEFENSE

         At the time and place mentioned in the Complaint, P&G violated no legal duty owing by

it to Plaintiff.

                            ELEVENTH AFFIRMATIVE DEFENSE

         At the time and place mentioned in the Complaint, P&G was not guilty of and is not liable

for any negligence which was a proximate cause of the alleged damages of which Plaintiff

complains.

                             TWELFTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint must be dismissed as it failed to state a claim for vicarious liability

as to P&G as it was not a motor carrier.

                           THIRTEENTH AFFIRMATIVE DEFENSE

         P&G owed no duty or responsibility to safeguard the Plaintiff and exercised no control

over its activities.

                          FOURTEENTH AFFIRMATIVE DEFENSE

         No acts or omissions by P&G were an actual cause, legal cause, contributing cause,

substantial factor, or proximate cause with respect to the damages if any, sustained by the Plaintiff.

                            FIFTEENTH AFFIRMATIVE DEFENSE

         If Plaintiff sustained damages as alleged in the Complaint, then said damages were caused,

in whole or in part, by the negligence, recklessness, intentional acts, breach of contract, and/or




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 16 of 17




breach of fiduciary duty, violation of statute(s), and/or other culpable conduct of a person or entity

over whom P&G exercised no control, and with whom P&G had no legal or commercial

relationship.

                           SIXTEENTH AFFIRMATIVE DEFENSE

         P&G reserves the right to amend this Answer and to assert additional defenses upon

ascertaining more definite facts during and upon completion of discovery and investigation.

         Respectfully submitted this 23rd day of October, 2023,

         PROCTER & GAMBLE DISTRIBUTING, LLC

                                      By:         /s/ Christy E. Jachimowski
                                                  Christy E. Jachimowski
                                                  #ct29980
                                                  Kenneth B. Walton
                                                  #ct22120
                                                  LEWIS BRISBOIS BISGAARD & SMITH LLP
                                                  185 Asylum Street, Suite 2603
                                                  Hartford, Connecticut 06103
                                                  (860) 566-8054
                                                  Christy.Jachimowski@LewisBrisbois.com
                                                  Ken.Walton@LewisBrisbois.com
                                                  HartfordEService@LewisBrisbois.com




131027994.1
          Case 3:23-cv-01353-SVN Document 19 Filed 10/23/23 Page 17 of 17




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd of October, 2023, a copy of the foregoing was filed

electronically on the Court’s CM/ECF system. Notice of this filing will be sent to all counsel of

record for viewing via the Court’s ECF system, and will be sent by U.S. Mail, postage pre-paid,

to Non-Appearing counsel for the plaintiff, listed below.

Samuel Coleman Martin, Esq.
Kevin C. Ferry, Esq.
Monique S. Foley, Esq.
Law Office of Kevin C. Ferry, LLC
77 Lexington Street
New Britain, CT 06052
kevin@ferrylaw.com, jake@ferrylaw.com, melissa@ferrylaw.com, monique@ferrylaw.com,
sam@ferrylaw.com
(counsel for the plaintiff)



                                                    __/s/ Christy E. Jachimowski__________
                                                    Christy E. Jachimowski




131027994.1
